  Case 17-08355         Doc 29        Filed 08/27/18 Entered 08/27/18 15:26:20         Desc Main
                                        Document     Page 1 of 5


                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                          )
                                                )     CASE NO. 17 B 08355
         Catherine Harris,                      )     HON. A. Benjamin Goldgar
                                                )     CHAPTER 13
         DEBTOR.                                )

                                        NOTICE OF MOTION

TO:      Marilyn O Marshall, 224 South Michigan Ste 800, Chicago, IL 60604, via
         electronic court notification;


         See attached service list.

       Please take notice that on September 18, 2018, at 9:30 a.m. I shall appear before the Honorable
A. Benjamin Goldgar in Courtroom 642 of the United States Bankruptcy Court, Everett McKinley
Dirksen Building, 219 S. Dearborn Street, Chicago, Illinois 60604 and present the attached motion
and you may appear if you so choose.


                                         PROOF OF SERVICE

       The undersigned, an attorney, certifies that she transmitted a copy of this notice and the
attached motion to the attached service list via regular U.S. Mail with postage prepaid from the
mailbox located at 20 S. Clark Street, Chicago, IL 60603 on August 27, 2018.


/s/ Angelica Harb ___
Attorney for Debtor

The Semrad Law Firm, LLC
20 S. Clark Street, 28th Floor
Chicago, IL 60603
312-913-0625
                  Case
Label Matrix for local     17-08355
                        noticing       Doc 29 U.S.Filed  08/27/18
                                                    Bankruptcy Court Entered 08/27/18 15:26:20       Desc
                                                                                         (p)AMERICOLLECT INCMain
0752-1                                              Document
                                              Eastern Division       Page 2 of 5         PO BOX 2080
Case 17-08355                                  219 S Dearborn                              MANITOWOC WI 54221-2080
Northern District of Illinois                  7th Floor
Chicago                                        Chicago, IL 60604-1702
Mon Aug 27 14:19:13 CDT 2018
Advocate Health Care                           CB/TORRID                                   CHICAGO AVE GARAGE FCU
PO Box 48458                                   PO BOX 182789                               4909 W Division St Suite 403
Oak Park, MI 48237-6058                        COLUMBUS, OH 43218-2789                     Chicago, IL 60651-3161



CONVERGENT OUTSOURCING                         Capital One                                 Cash Net USA
800 SW 39TH ST                                 10 S LaSalle suite 2000                     200 W Jackson Blvd
RENTON, WA 98057-4975                          c/o Blatt, Hasenmiller                      Fl 14
                                               Chicago, IL 60603-1074                      Chicago, IL 60606-6929


CashNetUSA                                     City of Chicago Department of Finance       City of Chicago Parking
175 W Jackson Blvd                             c/o Arnold Scott Harris P.C.                121 N. LaSalle St # 107A
Suite 1000                                     111 W. Jackson Blvd Ste. 600                Chicago, IL 60602-1232
Chicago, IL 60604-2863                         Chicago, IL 60604-3517


Comcast                                        FST PREMIER                                 IRS 1
p.o. box 196                                   3820 N LOUISE AVE                           PO Box 7346
Newark, NJ 07101-0196                          SIOUX FALLS, SD 57107-0145                  Philadelphia, PA 19101-7346



Northshore Evanston Hospital                   Northwestern Memorial Hospital              (p)OPPORTUNITY LOANS
2650 Ridge Ave                                 251 East Huron Street                       130 E RANDOLPH ST
Evanston, IL 60201-1797                        Chicago, IL 60611-3055                      SUITE 1650
                                                                                           CHICAGO IL 60601-6241


(p)PORTFOLIO RECOVERY ASSOCIATES LLC           Planet Fitness                              Premier Bankcard, LLC
PO BOX 41067                                   240 E Illinois                              Jefferson Capital Systems LLC; Assignee
NORFOLK VA 23541-1067                          Chicago, IL 60611-5063                      PO Box 7999
                                                                                           Saint Cloud MN 56302-7999


Providence Hospital                            Smile Dentist                               Speedy Cash
PO Box 418822                                  1350 W. Belmont                             P.O. Box 780408
Boston, MA 02241-8822                          Chicago, IL 60657-3245                      Wichita, KS 67278-0408



Speedy Cash                                    (p)T MOBILE                                 Amy L Gerstein
Po Box 782648                                  C O AMERICAN INFOSOURCE LP                  The Semrad Law Firm, LLC
Wichita, KS 67278-2648                         4515 N SANTA FE AVE                         20 S. Clark Street, 28th Floor
                                               OKLAHOMA CITY OK 73118-7901                 Chicago, IL 60603-1811


Catherine Harris                               Marilyn O Marshall                          Patrick Semrad
14125 S. Tracy, Apt 3A                         224 South Michigan Ste 800                  The Semrad Law Firm, LLC
Riverdale, IL 60827-2486                       Chicago, IL 60604-2503                      20 S. Clark St, 28th Floor
                                                                                           Chicago, IL 60603-1811
Patrick S Layng Case 17-08355             Doc 29       Filed 08/27/18 Entered 08/27/18 15:26:20                      Desc Main
Office of the U.S. Trustee, Region 11                    Document     Page 3 of 5
219 S Dearborn St
Room 873
Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


AMERICOLLECT INC                                     OPPITY FIN                                           PORTFOLIO RC
PO BOX 1566                                          11 E Adams # 501                                     120 Corporate Boulevard
MANITOWOC, WI 54221                                  Chicago, IL 60603                                    Norfolk, VA 23502



TMobile                                              End of Label Matrix
P.O. Box 742596                                      Mailable recipients    30
Cincinnati, OH 45274                                 Bypassed recipients     0
                                                     Total                  30
 Case 17-08355         Doc 29     Filed 08/27/18 Entered 08/27/18 15:26:20           Desc Main
                                    Document     Page 4 of 5


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                        )
                                              )       CASE NO. 17 B 08355
         Catherine Harris,                    )       HON. A. Benjamin Goldgar
                                              )       CHAPTER 13
         DEBTOR.                              )

                                 MOTION TO MODIFY PLAN

       NOW COMES the Debtor, Catherine Harris, by and through Debtor’s attorneys, The
Semrad Law Firm, LLC hereby move this Honorable Court to Modify the confirmed Chapter 13
Plan, Debtor states the following:

         1. On March 16, 2017, Debtor filed a petition for relief pursuant to Chapter 13 Title 11

            U.S.C.

         2. On June 20, 2017, this Honorable Court confirmed the Debtor’s Chapter 13 Plan.

         3. The Chapter 13 Plan allows for secured creditors to be paid 100% of their allowed

            claims, and general unsecured creditors without priority to be paid 10% of their allowed

            claims.

         4. The Chapter 13 Plan requires the Debtor to make plan payments to the Chapter 13

            Trustee in the amount of $400.00 monthly for 36 months.

         5. Debtor received $3,963.00 upon filing the federal 2017 taxes.

         6. In mid-December 2017, Debtor was injured at work. Debtor received treatment

            through March 2018.

         7. Debtor used her refund to make up for the unpaid time off work to keep up with her

            regular ongoing household expenses.

         8. Debtor respectfully requests this Honorable Court to waive the 2017 tax refunds in the

            amount of $3,963.00.
  Case 17-08355       Doc 29     Filed 08/27/18 Entered 08/27/18 15:26:20         Desc Main
                                   Document     Page 5 of 5


       9. Debtor is in a position to proceed with the instant case.

       10. Debtor filed the instant case in good faith and intends to complete the plan of

           reorganization.

       WHEREFORE, the Debtor prays this Honorable Court for the following relief:

       A. That this Honorable Court enter an Order waiving the 2017 tax refunds in the amount

           of $3,963.00; and

       B. For such other and further relief as the Court deems fair and proper.


Respectfully submitted,

/s/ Angelica Harb ___
Attorney for Debtor

The Semrad Law Firm, LLC
20 S. Clark Street, 28th Floor
Chicago, IL 60603
312-913-0625
